       Case 1:21-cr-00064-JPB-AJB Document 23 Filed 06/17/21 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA

          V.                                    Criminal Action No.
                                                1:21-CR-00064-JPB-AJB
   YUN JAE MOON, A/K/A MOON HO ROH,
   A/K/A JOON MOON, A/K/A ALEX MOON,
   A/K/A JAKE MOON

                    CONSENT PRELIMINARY ORDER OF
                             FORFEITURE
   Yun Jae Moon, a/k/a Moon Ho Roh, a/k/a Joon Moon, a/k/a Alex Moon,
a/k/a Jake Moon having pled guilty to Count One of the Indictment, pursuant to
which the United States sought forfeiture of certain property under 18 U.S.C. §§
981(a)(l)(C) and 28 U.S.C. § 2461(c) and the Court having determined that the
property described below is subject to forfeiture pursuant thereto, that the
Government has established the requisite nexus between said property and the
offense charged in Count One of the Indictment and Defendant having
consented to this Consent Preliminary Order of Forfeiture becoming final as to
him, being made a part of his sentence and being included in the judgment against
him;
       IT IS HEREBY ORDERED that Yun Jae Moon, a/k/a Moon Ho Roh, a/k/a
Joon Moon, a/k/a Alex Moon, a/k/a Jake Moon shall forfeit to the United States
the following property pursuant to18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c):
   a. $43,276.11 in funds seized from Fifth Third Bank account number
       XXXXXX3063 held in the name of Yun J. Moon; and
     Case 1:21-cr-00064-JPB-AJB Document 23 Filed 06/17/21 Page 2 of 3




   b. $50,004.23 in funds seized from Fifth Third Bank account number
       XXXXXX4230.
       IT IS HEREBY ORDERED that upon entry of this Order, the United States
Attorney General, or his designee, is authorized to seize the property in
accordance with Fed. R. Crim. P. 32.2(b)(3).
       The United States shall publish notice of this Order and its intent to dispose
of the property in accordance with Fed. R. Crim. P. 32.2(b)(6) and in such a manner
as described in Supplemental Rule G(4)(a)(iii) and (iv) of the Federal Rules of Civil
Procedure. The United States shall send written notice, in accordance with
Supplemental Rule G(4)(b)(iii)-(v), to any person who reasonably appears to be a
potential claimant with standing to contest the forfeiture of the above-listed
property in the ancillary proceeding.
      Pursuant to 21 U.S.C. § 853(n)(2), as incorporated by 28 U.S.C. § 2461(c), any
person, other than the named Defendant, asserting a legal interest in the property
may within thirty days of the final publication of the notice or their receipt of the
notice, whichever is earlier, petition the Court for a hearing without a jury to
adjudicate the validity of their alleged interest in the property and for an
amendment to the order of forfeiture. Any petition filed by a third party asserting
an interest in the property shall be signed by the petitioner under penalty of
perjury and shall set forth the nature and extent of the petitioner’s right, title or
interest in the property, the time and circumstance of the petitioner’s acquisition
of the right, title or interest and any additional facts supporting the petitioner’s
claim and the relief sought.

                                            2
     Case 1:21-cr-00064-JPB-AJB Document 23 Filed 06/17/21 Page 3 of 3




      After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(l)(A)
and before a hearing on the petition, discovery may be conducted in accordance
with the Federal Rules of Civil Procedure upon a showing that such discovery is
necessary or desirable to resolve factual issues.
      The United States shall have clear title to the property following the Court’s
disposition of all third-party interests or, if none, following the expiration of the
period provided in 21 U.S.C. § 853(n)(2) for the filing of the third-party petitions.
The Court shall retain jurisdiction to enforce this Order and to amend it as
necessary, pursuant to Fed. R. Crim. P. 32.2(e).
      IT IS FURTHER ORDERED that, pursuant to Fed. R. Crim. P. 32.2(b)(4), this
Preliminary Order of Forfeiture is hereby final as to Defendant but remains
preliminary as to third parties until the ancillary proceeding is concluded under
Rule 32.2(c).

      SO ORDERED this 17th day of June, 2021.



                                         _______________________
                                         J. P. BOULEE
                                         United States District Judge




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